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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
                                       :
OUR WICKED LADY LLC (d/b/a “Our Wicked :                 21cv0165(DLC)
Lady”), et al.,                        :
                                       :                      ORDER
                         Plaintiffs,   :
                -v-                    :
                                       :
ANDREW CUOMO, in his official capacity :
as Governor of the State of New York; :
STATE of NEW YORK; BILL de BLASIO, in :
his official capacity as Mayor of New :
York City; and THE CITY of NEW YORK,   :
                                       :
                         Defendants.   :
                                       :
-------------------------------------- X

DENISE COTE, District Judge:

     The plaintiffs filed the above-captioned case on January 8,

2021.   On January 12, an initial pretrial conference was

scheduled for February 26.       The plaintiffs have not yet filed

affidavits of service.

     On Friday evening, February 5, the plaintiffs filed a

motion to preliminarily enjoin the defendants from enforcing

restrictions on indoor dining within New York City which will go

into effect on February 14.       The plaintiffs seek permission to

operate their businesses at 50% capacity.         It is hereby

     ORDERED that the plaintiffs shall serve their motion of

February 5 on the defendants by February 8, 2021.           The

plaintiffs shall consult with defense counsel on February 8
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regarding a schedule for addressing the motion for a preliminary

injunction.

     IT IS FURTHER ORDERED that the plaintiffs shall promptly

file affidavits of service.

     IT IS FURTHER ORDERED that a conference is scheduled for

February 9, 2021 at 4:00pm.

     Due to the ongoing COVID-19 pandemic, the conference will

be held telephonically.       The parties shall use the following

dial-in credentials for the telephone conference:

             Dial-in:         888-363-4749

             Access code:     4324948

The parties shall use a landline if one is available.



Dated:       New York, New York
             February 8, 2021




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